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                         EXHIBIT 1
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              United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



             Argued November 9, 2023               Decided May 10, 2024

                                     No. 22-3086

                             UNITED STATES OF AMERICA,
                                     APPELLEE

                                          v.

                                STEPHEN K. BANNON,
                                    APPELLANT


                     Appeal from the United States District Court
                             for the District of Columbia
                                (No. 1:21-cr-00670-1)



                 David I. Schoen argued the cause and filed the briefs for
             appellant.

                 Elizabeth H. Danello, Assistant U.S. Attorney, argued the
             cause for appellee. With her on the brief were Chrisellen R.
             Kolb, J.P. Cooney, and Molly Gaston, Assistant U.S.
             Attorneys.

                 Before: PILLARD, WALKER, and GARCIA, Circuit Judges.

                 Opinion for the Court filed by Circuit Judge GARCIA.
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                  GARCIA, Circuit Judge: In September 2021, the House
             Select Committee to Investigate the January 6th Attack on the
             United States Capitol issued a subpoena to appellant Stephen
             Bannon to testify and provide documents. Bannon did not
             comply—he knew what the subpoena required but did not
             appear or provide a single document. Bannon was later
             convicted of violating the contempt of Congress statute,
             2 U.S.C. § 192, which criminalizes “willfully” failing to
             respond to a congressional subpoena. Bannon insists that
             “willfully” should be interpreted to require bad faith and argues
             that his noncompliance does not qualify because his lawyer
             advised him not to respond to the subpoena. This court,
             however, has squarely held that “willfully” in Section 192
             means only that the defendant deliberately and intentionally
             refused to comply with a congressional subpoena, and that this
             exact “advice of counsel” defense is no defense at all. See
             Licavoli v. United States, 294 F.2d 207, 207 (D.C. Cir. 1961).
             As both this court and the Supreme Court have repeatedly
             explained, a contrary rule would contravene the text of the
             contempt statute and hamstring Congress’s investigatory
             authority. Because we have no basis to depart from that
             binding precedent, and because none of Bannon’s other
             challenges to his convictions have merit, we affirm.
                                            I
                  On January 6, 2021, rioters attacked the United States
             Capitol, seeking to interfere with the certification of the 2020
             presidential election results. The attack delayed the scheduled
             certification vote of the Joint Session of Congress. The attack
             also left over 140 law enforcement officers injured and resulted
             in several deaths.
                 On June 30, 2021, the House of Representatives adopted
             House Resolution 503, establishing the Select Committee to
             Investigate the January 6th Attack on the United States Capitol.
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             The Resolution charged the Select Committee to investigate
             and report on the “facts, circumstances, and causes” of the
             January 6th attack. H.R. Res. 503, 117th Cong. § 3 (2021). It
             also authorized the Select Committee to subpoena witnesses to
             provide testimony and documents, id. § 5(c)(4), and to propose
             any legislation the Committee deemed necessary in light of its
             investigation, id. § 4(a)(3).
                  Public accounts indicated that Bannon had predicted on a
             January 5, 2021 podcast that “all hell [wa]s going to break
             loose” the next day. J.A. 39. Bannon had been employed as
             an advisor to then-President Donald Trump for approximately
             seven months before leaving the White House in 2017. In
             addition to the podcast prediction, Bannon had reportedly
             participated in discussions in late 2020 and early 2021 about
             efforts to overturn the 2020 election results.
                  Based on these reports, the Select Committee believed that
             Bannon had information relevant to its investigation.
             Accordingly, on September 23, 2021, the Select Committee
             issued a subpoena to him. The subpoena sought documents and
             testimony pertaining to seventeen categories of information
             from 2020 and 2021, long after Bannon’s 2017 departure from
             the White House: Three pertained to Bannon’s
             communications with President Trump in 2020 and 2021; the
             rest related to Bannon’s communications with White House
             and campaign staff, other private citizens, and related
             activities.   The subpoena ordered Bannon to produce
             documents by October 7, 2021, and to appear for a deposition
             on October 14. Bannon did not comply with either demand.
                  Instead, shortly after the first subpoena deadline passed on
             October 7, Bannon’s lawyer informed the Select Committee
             that Bannon would not respond. That October 7 letter stated
             that Bannon had received communications from Justin Clark,
             counsel for former President Trump, indicating that President
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             Trump intended to invoke executive privilege. Until those
             issues were resolved, the letter stated, Bannon would not
             respond to the request for documents or testimony.
                  The next day, October 8, the Select Committee responded
             in a letter, stating that Bannon had provided no “legal basis”
             for his “refusal to comply with the Subpoena.” J.A. 4838. The
             Select Committee noted that it had received no assertion,
             formal or otherwise, of executive privilege from President
             Trump. The Select Committee also explained that such an
             assertion would not, in any event, justify Bannon’s wholesale
             noncompliance with the subpoena. As the Select Committee
             described, “virtually all” of the material sought concerned
             Bannon’s actions as a private citizen and pertained to subjects
             not covered by executive privilege. Id. The Committee noted
             that Bannon could raise any particularized privilege concerns
             to the Committee in response to specific questions or document
             requests, but that he could not categorically claim “absolute
             immunity” from responding to the subpoena. J.A. 4839.
                  Bannon’s lawyer replied in an October 13 letter to the
             Committee, repeating that Clark “informed” Bannon’s lawyer
             that President Trump “is exercising his executive privilege”
             and that Bannon would not respond to the subpoena. J.A. 4841.
             In an October 15 letter, the Select Committee reiterated the
             points in its October 8 letter—that it had received no
             communication from President Trump asserting executive
             privilege and that such an assertion would not justify total
             noncompliance by Bannon. The Select Committee repeatedly
             warned that if Bannon continued to refuse to comply, it would
             consider referring Bannon for prosecution on contempt
             charges. The Committee gave Bannon until October 18 to
             submit any additional information that might bear on its
             contempt deliberations.
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                  During this period, though Clark (former President
             Trump’s counsel) did not contact the Select Committee, he did
             exchange several emails with Bannon’s lawyer. In those
             exchanges, Clark warned—contrary to Bannon’s position—
             that an assertion of executive privilege would not justify
             Bannon’s total noncompliance. In his initial October 6 letter to
             Bannon’s counsel, Clark described the subpoena as seeking
             materials “including but not limited to” information
             “potentially” protected by executive privilege. J.A. 444. Clark
             therefore instructed Bannon to invoke, “where appropriate,”
             any immunities and privileges Bannon “may have.” Id. In an
             October 14 letter to Bannon’s lawyer, Clark disclaimed that
             President Trump had directed Bannon not to produce
             documents or testify until the issue of executive privilege was
             resolved. And on October 16, after learning of Bannon’s
             continued claim to the Committee that he was justified in not
             responding to the subpoena, Clark repeated that his previous
             letter “didn’t indicate that we believe there is immunity from
             testimony for your client. As I indicated to you the other day,
             we don’t believe there is.” J.A. 448.
                 Bannon did not comply with the subpoena in any respect.
             Nor, despite the Committee’s warnings, did he submit by
             October 18 any further information bearing on the Committee’s
             contempt deliberations. On October 19, 2021, the Select
             Committee informed Bannon that it had unanimously voted to
             recommend that the House of Representatives find him in
             contempt of Congress.
                  On November 12, 2021, a grand jury charged Bannon with
             two counts of violating 2 U.S.C. § 192. Section 192 provides
             that “[e]very person who having been summoned as a witness
             by the authority of . . . any committee of either House of
             Congress, willfully makes default, or who, having appeared,
             refuses to answer any question pertinent to the question under
             inquiry, shall be deemed guilty” of contempt of Congress.
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             2 U.S.C. § 192. The indictment’s first count concerned
             Bannon’s refusal to appear for the deposition; the second
             concerned his refusal to produce the sought-after documents
             and communications.
                 On July 22, 2022, following a five-day trial, a jury found
             Bannon guilty on both counts. The district court sentenced
             Bannon to four months’ incarceration for each count to run
             concurrently, with a $6,500 fine. The district court stayed
             Bannon’s sentence pending this appeal.
                                            II
                   Bannon raises four challenges to his convictions. He
             argues that the district court erroneously defined the mental
             state required for a contempt of Congress charge, that his
             conduct was affirmatively authorized by government officials,
             that the Select Committee’s subpoena was invalid to begin
             with, and that the trial court should not have quashed certain
             trial subpoenas that sought to develop evidence for his defense.
             As explained below, each challenge lacks merit.
                                            A
                  In this appeal, Bannon does not dispute that he deliberately
             refused to comply with the Select Committee’s subpoena in
             that he knew what the subpoena required and intentionally did
             not respond; his nonresponse, in other words, was no accident.
             Instead, Bannon challenges the contempt of Congress charges
             on the ground that he reasonably believed—based on advice of
             counsel—that he did not have to respond. He argued below
             and on appeal that “willfully” making default in violation of
             2 U.S.C. § 192 requires bad faith—that the defendant must
             know that his conduct violated the law. The district court,
             however, concluded that Section 192 requires proof only that
             the defendant deliberately and intentionally did not respond.
             The district court thus denied Bannon’s motion to dismiss the
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             indictment based on his asserted good-faith reliance on his
             counsel’s advice, precluded Bannon from presenting such a
             defense at trial, and instructed the jury consistent with those
             rulings. We review the district court’s legal determination de
             novo. See United States v. Sheehan, 512 F.3d 621, 629 (D.C.
             Cir. 2008).
                  Our decision in Licavoli directly rejects Bannon’s
             challenge. In Licavoli, we concluded that “willfully” in
             Section 192 requires that any failure to appear in response to a
             congressional subpoena be only “deliberate” and “intentional.”
             294 F.2d at 208; see id. at 207–09. It does not require bad faith,
             evil motive, or unlawful purpose. Id. at 209. Indeed, Licavoli
             specifically held that an advice of counsel defense—which
             ultimately seeks to show the defendant acted in good faith—is
             unavailable under this statute. Id. (“Advice of counsel does not
             immunize that [deliberate] intention.”).
                  Bannon does not dispute that description of Licavoli. See
             Bannon Br. 10. He instead asks us to depart from its holding.
             That request, however, must clear a high bar. Licavoli is
             binding upon this panel unless it was inconsistent with an
             earlier, on-point decision, United States v. Old Dominion Boat
             Club, 630 F.3d 1039, 1045 (D.C. Cir. 2011), or if it has been
             overturned—or its rationale “eviscerated”—by a subsequent
             decision of the Supreme Court or of this court sitting en banc,
             Dellums v. U.S. Nuclear Regul. Comm’n, 863 F.2d 968, 978
             n.11 (D.C. Cir. 1988). Bannon has not identified any such case.
             To the contrary, every case that addresses the mental state
             required for a contempt of Congress conviction firmly supports
             Licavoli’s holding.
                 Recall that Section 192 criminalizes not only “willfully
             mak[ing] default”—the clause at issue in Licavoli and this
             case—but also—in a second clause—the conduct of one “who,
             having appeared, refuses to answer any question pertinent to
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             the question under inquiry.” 2 U.S.C. § 192. As Licavoli itself
             observed, the Supreme Court had already held that the latter
             clause requires only a deliberate and intentional refusal to
             answer. See 294 F.2d at 207–08. For example, in Sinclair v.
             United States, 279 U.S. 263 (1929), overruled on other
             grounds by United States v. Gaudin, 515 U.S. 506 (1995), the
             Supreme Court held that a conviction under that clause requires
             only an “[i]ntentional violation”; no “moral turpitude” is
             required and assertions that a defendant “acted in good faith on
             the advice of competent counsel” are “no defense.” Id. at 299.
             Quinn v. United States, 349 U.S. 155 (1955), reached the same
             result: Section 192’s latter clause requires only “a deliberate,
             intentional refusal to answer.” Id. at 165; see also Yellin v.
             United States, 374 U.S. 109, 123 (1963); Watkins v. United
             States, 354 U.S. 178, 208 (1957); United States v. Helen Bryan
             (“Helen Bryan”), 339 U.S. 323, 330 (1950); Fields v. United
             States, 164 F.2d 97, 101 (D.C. Cir. 1947). Although the
             “refusal to answer” clause does not use the term “willfully,”
             Licavoli rejected the argument that the presence of the adverb
             in one clause but not the other counseled any different approach
             to the mental state required when a subpoena recipient refuses
             to appear altogether instead of appearing but refusing to answer
             pertinent questions. See 294 F.2d at 208. Bannon offers no
             challenge to that rationale—which would bind us in any
             event—in this appeal.
                  Moreover, cases addressing Section 192 have explained
             why, as a practical matter, requiring evidence of bad faith
             would undermine the statute’s function. The ability to
             effectively enforce subpoenas is critical to Congress’s power
             of inquiry, which is in turn essential to Congress’s ability to
             legislate “wisely and effectively.” Quinn, 349 U.S. at 160–61.
             And effectively enforcing congressional subpoenas would be
             exceedingly difficult if contempt charges required showing that
             a failure to appear or refusal to answer questions was not just
             deliberate and intentional, but also done in bad faith.
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             Otherwise, any subpoenaed witness could decline to respond
             and claim they had a good-faith belief that they need not
             comply, regardless of how idiosyncratic or misguided that
             belief may be. As the Supreme Court has colorfully put it, a
             “subpoena has never been treated as an invitation to a game of
             hare and hounds, in which the witness must testify only if
             cornered at the end of the chase.” Helen Bryan, 339 U.S. at
             331. “If that were the case, . . . the great power of testimonial
             compulsion, so necessary to the effective functioning of courts
             and legislatures, would be a nullity.” Id.
                  In the face of that authority, Bannon cites cases that do not
             undermine Licavoli, much less to the degree required for this
             panel to even consider departing from that decision.
             Importantly, the cases Bannon cites do not address Section 192
             or contempt charges at all, but instead interpret the word
             “willfully” in other criminal statutes to require more than a
             deliberate and intentional act. For example, in some criminal
             statutes, “willful” conduct requires that the defendant act with
             a “bad purpose,” meaning with “knowledge that his conduct
             was unlawful.” Sillasse Bryan v. United States (“Sillasse
             Bryan”), 524 U.S. 184, 191–92 (1998) (quotation omitted)
             (interpreting 18 U.S.C. § 924(a)(1)(D), which criminalizes
             unlawfully dealing in firearms without a license); Ratzlaf v.
             United States, 510 U.S. 135, 140–50 (1994) (interpreting
             31 U.S.C. §§ 5322, 5324, which prohibit willfully structuring
             cash transactions for the purpose of evading reporting
             requirements); United States v. Burden, 934 F.3d 675, 680,
             689–93 (D.C. Cir. 2019) (interpreting the “willful[]” violation
             of a provision prohibiting the export of defense articles without
             a license). But that is at most a “general” rule. Sillasse Bryan,
             524 U.S. at 191. As those same cases explain, “willful” “is a
             ‘word of many meanings,’” and “‘its construction is often . . .
             influenced by its context.’” Ratzlaf, 510 U.S. at 141 (alteration
             omitted) (quoting Spies v. United States, 317 U.S. 492, 497
             (1943)); see also Sillasse Bryan, 524 U.S. at 191 (noting that
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              construction of word “willfully” in statutes “is often dependent
              on the context in which it appears”). Because statutory context
              is critical, nothing in the authorities Bannon relies upon calls
              into question this court’s longstanding interpretation of
              “willfully” in Section 192 as requiring a deliberate, intentional
              failure to respond to a subpoena.1
                  Finally, Bannon argues that applying Licavoli to disallow
              his advice of counsel defense would raise constitutional
              concerns because his counsel’s advice was that then-former
              President Trump had asserted executive privilege. This case,
              however, provides no occasion to address any questions
              regarding the scope of executive privilege or whether it could
              have excused Bannon’s noncompliance in these circumstances.
              President Trump did not communicate an intent to invoke
              executive privilege to the Committee, and Bannon never raised
              executive privilege as an affirmative defense to the contempt
              charges in district court. See J.A. 3017 (district court similarly
              observing that whether executive privilege excused Bannon
              from complying with the subpoena was “unteed-up”).2 The

                  1
                      At oral argument, Bannon’s counsel identified our pre-
              Licavoli decision in Townsend v. United States, 95 F.2d 352 (D.C.
              Cir.), cert. denied, 303 U.S. 664 (1938), as the strongest reason why
              we should not apply Licavoli. Oral Arg. Tr. 5:10–7:8; 35:3–14.
              Unlike the cases interpreting “willfully” that Bannon cited in his
              briefs, that decision does address Section 192. But it only further
              confirms Licavoli’s holding and ours. Townsend acknowledged that
              the meaning of “willfully” depends on the specific “statute in which
              it is used,” and concludes, contrary to Bannon’s position, that
              “deliberately” refusing to comply with a congressional subpoena
              violates Section 192. 95 F.2d at 361.
                  2
                    In a July 2022 letter to Bannon, President Trump claimed that
              he had previously invoked executive privilege, but that letter was
              written long after Bannon had already failed to comply with the
              subpoena in October 2021.
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              argument Bannon preserved and presses on appeal is confined
              to disputing the mental state required for a contempt of
              Congress conviction. It raises no constitutional question to
              reaffirm Licavoli’s holding that a deliberate and intentional
              refusal to honor a congressional subpoena violates federal law.
                                             B
                   Bannon also sought to mount what he parses as three
              affirmative defenses—all based on the assertion that the
              government authorized his default—which he labels
              entrapment by estoppel, public authority, and apparent
              authority. Bannon advanced a common theme to support those
              defenses: that his noncompliance was justified because he
              relied on directives from then-former President Trump and a
              collection of opinions from the Department of Justice’s Office
              of Legal Counsel (“OLC”). The district court concluded that
              none of the defenses supported dismissing the indictment and
              that Bannon was not entitled to a jury instruction on the
              defenses either. Our review is again de novo. See United States
              v. Williamson, 903 F.3d 124, 132 (D.C. Cir. 2018).
                   These defenses stem from fairness concerns with
              prosecuting someone who reasonably relies on a government
              official’s advance assurance that their conduct would be legal
              or on a government official’s authorization of illegal conduct.
              For example, where a federal agency “affirmatively misled”
              regulated entities into believing certain specific conduct was
              lawful, the Supreme Court held that prosecuting the entities for
              that very conduct would offend “traditional notions of fairness
              inherent in our system of criminal justice.” United States v. Pa.
              Indus. Chem. Corp., 411 U.S. 655, 674 (1973). Accordingly,
              these government authorization defenses require the defendant
              to show (in addition to other elements we need not address) that
              the government affirmatively authorized the defendant’s
              conduct—here, Bannon’s refusal to produce any documents or
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              testify in response to the Select Committee’s subpoena. See
              Cox v. Louisiana, 379 U.S. 559, 569–71 (1965); Raley v. Ohio,
              360 U.S. 423, 424–25 (1959); United States v. Alvarado,
              808 F.3d 474, 484–85 (11th Cir. 2015); United States v. W.
              Indies Transp., Inc., 127 F.3d 299, 313 (3d Cir. 1997).
                  Bannon cannot show such authorization here. Neither the
              communications from former President Trump’s counsel nor
              the OLC opinions purported to authorize Bannon’s refusal to
              produce any documents or appear for his deposition.
                   First, the statements from President Trump’s counsel,
              Justin Clark. We need not decide if a former government
              official can provide the requisite authorization because, as the
              record demonstrates, President Trump did not, in fact,
              authorize Bannon’s refusal to respond to the subpoena. Clark’s
              initial October 6 letter to Bannon’s counsel nowhere suggested
              that Bannon should categorically refuse to respond to the
              subpoena. It stated that the subpoena “includ[ed]” requests for
              information “potentially” protected by executive privilege and
              instructed Bannon to, “where appropriate,” invoke any
              privileges he “may have.” J.A. 444. When Clark learned that
              Bannon was refusing to comply with the subpoena entirely, he
              followed up on October 14, disclaiming that President Trump
              had directed Bannon to do so. Most pointedly, Clark reiterated
              on October 16 that his earlier letter “didn’t indicate that we
              believe there is immunity from testimony for your client” and
              concluded: “As I indicated to you the other day, we don’t
              believe there is.” J.A. 448. The letters, in short, explicitly
              communicate the opposite of what Bannon asserted to the
              Committee.
                  Second, the OLC opinions. We similarly need not decide
              whether and in what circumstances OLC opinions can support
              a government authorization defense because none of the cited
              opinions license Bannon’s refusal to produce any documents or
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              appear to testify. Cases finding government authorization of
              criminal conduct have typically involved a single government
              statement directed to the defendant, or at least to a class of
              individuals that includes the defendant, authorizing a specific
              course of conduct. See, e.g., Pa. Indus. Chem. Corp., 411 U.S.
              at 674.
                   Here, the OLC opinions Bannon cites involve a variety of
              situations where OLC concluded executive privilege could be
              properly invoked. But, as the district court correctly observed,
              none of the opinions address a situation resembling Bannon’s:
              a congressional committee subpoena for communications
              “between a nongovernmental employee and a President who,
              at the time of the Subpoena, was no longer in office and had
              not clearly directed the Subpoena recipient to decline to
              comply altogether.” J.A. 2351–52. Further, none of the
              opinions addressed communications between a private citizen
              subpoena recipient and other private citizens. Here, only a
              small subset of the subpoena topics even referenced
              communications with President Trump or his staff—the rest
              concerned Bannon’s communications with individuals outside
              the White House not even arguably subject to executive
              privilege.
                   Reflecting the fact that the OLC opinions are meaningfully
              distinguishable from this situation, Bannon resorts to arguing
              that his lawyer concluded his nonresponse was authorized by
              interpreting the “principles” and “rationale underlying” at least
              fifteen different OLC opinions and statements. Reply Br. 11,
              15; see also id. 10–18. That Bannon can point only to his
              lawyer’s interpretation of underlying principles and rationales,
              rather than any specific statement from the government,
              confirms that Bannon’s government authorization defenses are
              each essentially a repackaged advice of counsel defense. As
              we have explained, Section 192 permits no such defense.
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                                            14
                                             C
                   Bannon also argued that his contempt charges should be
              dismissed because the Select Committee’s subpoena was
              invalid for both substantive and procedural reasons. The
              district court concluded that these challenges did not warrant
              dismissing the indictment and precluded Bannon from
              introducing evidence he claimed supported them. We review
              the denial of the motion to dismiss de novo, United States v.
              Yakou, 428 F.3d 241, 246 (D.C. Cir. 2005), and the district
              court’s exclusion of evidence for abuse of discretion, United
              States v. Hall, 945 F.3d 507, 514 (D.C. Cir. 2019). Bannon’s
              challenges fail.
                                             1
                   A congressional committee may use its investigative
              power only for a “valid legislative purpose.” Quinn, 349 U.S.
              at 161. Bannon contends that the Select Committee lacked
              such a purpose in issuing its subpoena to him. We have already
              held that the Select Committee, as a general matter, “plainly
              has a valid legislative purpose” because “its inquiry concerns a
              subject on which legislation could be had.” Trump v.
              Thompson, 20 F.4th 10, 41–42 (D.C. Cir. 2021) (quotation
              marks and alteration omitted) (quoting Trump v. Mazars USA,
              LLP, 591 U.S. 848, 863 (2020)), cert. denied, 142 S. Ct. 1350
              (2022); see also id. at 24–25. As we explained in Thompson,
              the Committee’s investigation into the events of January 6
              could inform a range of legislation, and House Resolution 503
              explicitly authorizes the Select Committee to propose
              legislation in light of its investigation. Id. at 41–42.
                  Bannon makes no argument that the subpoena’s subject
              matter is unrelated to that authorized investigation. Nor could
              he. As the indictment explains, based on public reports, the
              Committee believed Bannon had information “relevant to
              understanding important activities that led to and informed” the
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              events of January 6, and the information the subpoena sought
              was relevant to those events. J.A. 39–40.
                   Instead, Bannon argues that even if the Select Committee
              could have had a valid legislative purpose in seeking this
              information from him, his subpoena was invalid because the
              Select Committee’s members actually acted for assertedly
              improper reasons, namely to target him and send a message to
              other potential witnesses. But this argument too runs headlong
              into settled law. The Supreme Court has made “clear that in
              determining the legitimacy of a congressional act[,] we do not
              look to the motives alleged to have prompted it.” Eastland v.
              U.S. Servicemen’s Fund, 421 U.S. 491, 508 (1975); accord
              Barenblatt v. United States, 360 U.S. 109, 133 (1959)
              (declining to inquire into motives of committee members);
              Watkins, 354 U.S. at 200 (same). What matters is whether the
              subpoena is objectively related to a valid legislative purpose.
              This one was.
                                             2
                  Bannon also raised several procedural objections to the
              subpoena: that the Select Committee lacked the thirteen
              members and ranking minority member required by House
              Resolution 503, and that he should have received a copy of
              House Rule 3(b) (describing committee deposition authority)
              with the subpoena. These objections suffer from a common
              defect: Bannon did not raise them before the Select Committee
              and therefore forfeited them.
                   It is undisputed that the first time Bannon raised these
              arguments was in district court, long after his deadline for
              responding to the subpoena had passed. Bannon Br. 54–56. A
              witness cannot defend against a contempt of Congress charge
              based on an affirmative defense that they were able, but failed,
              to raise at the time they were ordered to produce documents or
              appear. Helen Bryan, 339 U.S. at 332–35. This rule promotes
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              “a decent respect for the House of Representatives” and
              ensures that a committee has an appropriate opportunity to
              remedy any claimed procedural deficiencies in its subpoenas.
              Id. at 332. As the Supreme Court has observed: “To deny the
              Committee the opportunity to consider the objection or remedy
              it is in itself a contempt of its authority and an obstruction of
              its processes.” Id. at 333.
                  Bannon argues that his failure to raise these objections at
              the time he was ordered to appear and produce documents
              should nevertheless be excused on either of two grounds.
              Neither applies here.
                   First, objections going to the elements of the contempt
              offense—the facts that the government must prove to secure a
              conviction—cannot be forfeited. See id. at 328–29; Deutch v.
              United States, 367 U.S. 456, 468–72 (1961). But none of the
              procedural defects Bannon alleges are elements of the
              Section 192 offense. As the district court instructed the jury
              here, to establish a Section 192 violation, the government was
              required to prove that Bannon was subpoenaed by the Select
              Committee to testify or produce papers, the subpoena sought
              testimony or information pertinent to the investigation the
              Select Committee was authorized to conduct, Bannon failed to
              comply with the subpoena, and his failure to comply was
              willful. A committee’s compliance with procedural rules is not
              an aspect of any of these elements. See Helen Bryan, 339 U.S.
              at 330–35. Bannon’s procedural arguments are therefore at
              best affirmative defenses that he failed to preserve by not
              raising them to the Committee. See, e.g., id. at 328–29
              (government need not prove committee quorum as an element
              of contempt); Liveright v. United States, 347 F.2d 473, 475
              (D.C. Cir. 1965) (committee’s failure to comply with
              authorizing resolution is “valid defense” to contempt); see also
              Yellin, 374 U.S. at 123 (refusing to answer committee question
              based on rule violation would be a “defense”).
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                   Bannon suggests that compliance with procedural rules is
              part of the second element: congressional authority and
              pertinency. Not so. Authority is a question of whether a
              committee was “duly empowered” to investigate and “the
              inquiry was within the scope of the grant of authority.” United
              States v. Seeger, 303 F.2d 478, 482 (2d Cir. 1962). And
              pertinency is a question of whether witness questions in fact
              related to a matter the committee was authorized to investigate.
              Bowers v. United States, 202 F.2d 447, 448 (D.C. Cir. 1953).
              None of Bannon’s procedural contentions bear on whether
              House Resolution 503 gave the Select Committee the authority
              to investigate the January 6th attack or whether the subpoena
              issued to Bannon related to that investigation. Because
              Bannon’s contentions about compliance with procedural rules
              are not elements of the offense, they can be—and have been—
              forfeited.
                   Second, Bannon’s failure to raise these arguments before
              the Select Committee could be excused if the grounds for them
              were not apparent at the time he was ordered to appear and
              produce documents. Cf. Yellin, 374 U.S. at 122–23 (excusing
              failure to raise procedural objection where defendant was
              “unable” to discern violation prior to trial); Shelton v. United
              States, 404 F.2d 1292, 1300 (D.C. Cir. 1968). But that
              exception has no application here either. Bannon never
              contests the government’s assertion that the composition of the
              Select Committee was widely reported at the time. And if
              Bannon wished to argue that he was entitled to a copy of Rule
              3(b) with the subpoena, he was indisputably aware of the fact
              that it had not been provided—indeed, the subpoena’s
              attachments explained that he would receive a copy of that rule
              when he appeared to testify.
                  Because the subpoena advanced a valid legislative purpose
              and Bannon forfeited his procedural objections to it, the district
              court did not err in denying the motion to dismiss the
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              indictment and excluding evidence supporting those objections
              as irrelevant. Accordingly, the district court also did not err in
              instructing the jury to disregard a reference that Bannon’s
              counsel made in his closing argument to Rule 3(b).
                                              D
                   Finally, Bannon challenges the district court’s rulings
              quashing trial subpoenas that he served on Select Committee
              members, staffers, counsel, and three House leaders. The
              district court held that most of the testimony and documents
              sought were protected by the Constitution’s Speech or Debate
              Clause and that any information not covered by the Clause was
              irrelevant. Bannon then moved to dismiss, arguing that
              quashing resulted in a one-sided presentation of evidence that
              violated his Fifth and Sixth Amendment rights. The district
              court, after considering Bannon’s detailed proffer, denied his
              motion because the information Bannon sought was not
              material to the charges or defenses properly before the jury.
              We again review the denial of Bannon’s motion to dismiss de
              novo, Yakou, 428 F.3d at 246, and the district court’s
              evidentiary rulings for abuse of discretion, Hall, 945 F.3d at
              514.
                    We conclude that none of the information sought in the
              trial subpoenas was relevant to the elements of the contempt
              offense, nor to any affirmative defense Bannon was entitled to
              present at trial. We accordingly need not consider whether the
              Speech or Debate Clause also protects the sought-after
              information from disclosure.
                   As discussed above, Bannon sought to put to the jury
              several arguments that the district court properly excluded:
              that the underlying subpoena was invalid because of the
              political motives of Select Committee members and
              procedurally flawed based on the Select Committee’s
              composition and Bannon’s non-receipt of a copy of Rule 3(b).
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              Bannon’s trial subpoenas sought information related to those
              arguments. He sought, for example, information about the
              subjective motives or bias of Select Committee members and
              their thinking behind issuing the subpoena to Bannon and
              communicating with his counsel. Because the district court
              properly concluded those arguments were irrelevant, it made
              no error in quashing trial subpoenas seeking information to
              support them.
                   At oral argument, when asked to identify Bannon’s
              strongest example of purportedly relevant information sought
              in the trial subpoenas, Bannon’s counsel identified a request for
              testimony from Select Committee Chairman Bennie Thompson
              about his letters to Bannon urging Bannon to comply with the
              subpoena even after the initial deadline for a response. Oral
              Arg. Tr. 8:22–9:8. The district court reasonably concluded that
              any testimony from Chairman Thompson about his letters to
              Bannon would be irrelevant. The district court acknowledged
              that Bannon could argue to the jury that he believed the
              subpoena dates were malleable, such that his noncompliance
              by the specified dates was not a deliberate and intentional
              default. But what an individual member of the Select
              Committee thought—even the chairman—does not go to
              Bannon’s state of mind. As the district court observed, it is
              Bannon’s understanding of the dates that matters. Bannon’s
              counsel conceded that all the information Bannon had from the
              Select Committee was reflected in the letters themselves,
              which were entered into evidence. That this is Bannon’s
              strongest example illustrates the broader conclusion that none
              of what Bannon sought in the trial subpoenas went to elements
              of the contempt offense or any affirmative defense Bannon was
              entitled to present.
                   Bannon’s arguments that the district court violated his
              rights to compulsory process or due process by quashing his
              trial subpoenas and denying his motion to exclude all
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              congressional testimony also fail for the same reasons. Both
              claims require Bannon to show that “the evidence lost would
              be . . . material” to his defense. United States v. Verrusio,
              762 F.3d 1, 23 (D.C. Cir. 2014) (quoting United States v.
              Valenzuela-Bernal, 458 U.S. 858, 873 (1982)). As explained,
              he cannot make that showing.3
                                             III
                  The judgment of conviction and sentence under 2 U.S.C.
              § 192 is affirmed.
                                                                   So ordered.




                  3
                     We decline to reach Bannon’s wholly undeveloped argument
              that quashing the trial subpoenas violated his rights to effective
              assistance of counsel and confrontation. See, e.g., Ramsey v. U.S.
              Parole Comm’n, 840 F.3d 853, 863 n.6 (D.C. Cir. 2016) (even
              assuming a claim was preserved in district court, “perfunctory
              appellate briefing does not suffice to raise it in this Court”).
